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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                      Chapter 7

START MAN FURNITURE, LLC, et al. (f/k/a Art                                 Case No. 20-10553 (CTG)
Van Furniture, LLC),1
                                                                            (Jointly Administered)
                                   Debtors.


ALFRED T. GIULIANO, in his capacity as                                      Adv. Proc. No. 22-___________ (CTG)
Chapter 7 Trustee of Start Man Furniture, LLC,
et al.,

                                  Plaintiff,

vs.

DANIEL ROY MURPHY, KIMBERLY JEAN
MURPHY,

                                  Defendants.



COMPLAINT FOR (I) BREACH OF CONTRACT, (II) TURNOVER OF AMOUNTS DUE
         UNDER FRANCHISE AGREEMENT, (III) ACCOUNT STATED;
 (IV) GOODS SOLD AND DELIVERED; (V) DECLARATORY JUDGMENT; AND (VI)
               RECOVERY OF ATTORNEYS’ FEES AND COSTS

                   Plaintiff, Alfred T. Giuliano in his capacity as chapter 7 trustee of Start Man

Furniture, LLC, et al. (the “Plaintiff”), for the estates of the above-captioned debtors (the

“Debtors”) in the above-captioned cases pending under chapter 7 of title 11 of the United States

Code (the “Bankruptcy Code”), by and through his undersigned counsel, as and for his Complaint

For (I) Breach of Contract, (II) Turnover of Amounts Due Under Franchise Agreement, (III)


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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II, LLC
(f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man
Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep
Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
(5198); and Comfort Mattress LLC (4463).

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Account Stated; (IV) Goods Sold and Delivered, and (V) Declaratory Judgment; and (VI)

Recovery of Attorneys’ Fees and Costs (the “Complaint”) against the above-captioned defendants

(the “Defendants”), alleges as follows:

                                               THE PARTIES

                 1.          On March 8, 2020, each of the Debtors filed a voluntary petition with this

Court under chapter 11 of the Bankruptcy Code. The Debtors’ cases are jointly administered for

administrative purposes only.

                 2.          On April 6, 2020, the Court entered an order [D.I. 263] converting the

Debtors’ cases to cases under chapter 7 of the Bankruptcy Code. On April 7, 2020, Alfred T.

Giuliano was appointed as the chapter 7 trustee of the Debtors [D.I. 264]. The Bankruptcy Code

authorizes the Trustee to perform the duties exercise the powers, and assert the rights of a trustee

under sections 704 and 1106 of the Bankruptcy Code, including without limitation, commencing,

prosecuting or settling causes of action, enforcing contracts or asserting claims and defenses on

behalf of the Debtors’ estates.

                 3.          Defendants Daniel Roy Murphy and Kimberly Jean Murphy have a notice

address of 551 Lakewood Drive, East Tawas, Michigan 48730.

                                       JURISDICTION AND VENUE

                 4.          The United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”) has jurisdiction over this adversary proceeding under the Bankruptcy Code

pursuant to 28 U.S.C. §§ 157(a) and 1334(a) and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware dated February 29, 2012.




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                 5.          This proceeding is a core proceeding within the meaning of 28 U.S.C.

§ 157(b) and the Bankruptcy Court may enter final orders for the matters contained herein.

                 6.          Pursuant to Local Bankruptcy Rule 7008-1, the Plaintiff affirms his consent

to the entry of final orders or judgments by the Bankruptcy Court if it is determined that the

Bankruptcy Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution.

                 7.          Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409(a).

                                    BASIS FOR RELIEF REQUESTED

                 8.          This adversary proceeding is initiated pursuant to Rule 7001(1) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 105(a) and 542 of

the Bankruptcy Code.

                                                   FACTS

                 9.          Prior to the Conversion Date, the Debtors offered customers a wide array of

home furnishings under several well-known brands, including Art Van Furniture, Pure Sleep, Scott

Shuptrine Interiors, Levin Furniture, Levin Mattress, and Wolf Furniture.

                 10.         Prior to the Petition Date, Debtor AVF was a franchisor of a nationally

recognized chain of furniture stores, and the “Art Van” brand and image were key to the overall

value and success of the Debtors’ franchise system. The Debtors’ brand and image were based

principally on the use of certain trademarks (the “Marks”) that the Debtors owned and licensed to

authorized franchisees.




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                 11.         The Debtors spent substantial sums for advertising and promotion of the

Marks. The Marks were distinctive, widely recognized, and engendered a substantial amount of

goodwill and consumer association.

                 12.         Prior to the Petition Date, Debtor AVF Franchising, LLC (“AVF”) and

Defendants were parties to a Franchise Agreement dated February 3, 2014 (the “Franchise

Agreement”). A copy of the Franchise Agreement is attached to this Complaint as Exhibit A.

Under the Franchise Agreement, the Defendants operated a furniture store using the Art Van name

selling Art Van products using Art Van’s Marks and franchise system. The Defendants’ store was

located at 1819 East US 23, East Tawas, Michigan 48730 (the “Store”).

                 13.         The Franchise Agreement required the Defendants to, among other things,

pay certain royalties and other fees to AVF as consideration for the use of the Marks. A failure to

pay such fees and royalties was expressly considered a material breach under the Franchise

Agreement. See Franchise Agreement § 14.

                 14.         Under the Franchise Agreement, Defendants were obligated to pay various

franchise fees and royalties to AVF. See Franchise Agreement §4. In particular, Defendants were

required to pay to AVF weekly royalties of 5% on gross sales. Franchise Agreement § 4.2

Defendants also periodically purchased merchandise from AVF for sale in Defendants’ Store.

                 15.         Attached to this Complaint as Exhibit B is a list of amounts due from

Defendants and owed to AVF under the Franchise Agreement (the “Franchisee Payable”). The

aggregate amount due from Defendants to AVF is not less than $57,334.34.

                 16.         On or about November 12, 2021, the Plaintiff sent one or more demand

letters to Defendants informing Defendants that they were in default of the Franchise Agreement


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and that the Franchisee Payable was due at owing immediately with interest accruing at three

percent (3%) per month and fees due on the amount owed.2

                                        FIRST CLAIM FOR RELIEF
                                            (Breach of Contact)

                 17.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 18.         Prior to the Petition Date, as stated above, Debtor AVF and the Defendants

entered into the Franchise Agreement, pursuant to which the Defendants agreed to pay certain

royalties and other fees to AVF as consideration for the use of the Marks, and to pay the Debtors

for any goods sold and delivered to Defendants.

                 19.         The Franchise Agreement is a valid and an enforceable contract in which the

    Defendant was obligated to perform.

                 20.         The Debtors performed their obligations under the Franchise Agreement

with respect to the use of the Marks by the Defendants and the goods sold to Defendants.

                 21.         The Defendants’ failure to compensate the Debtors under the Franchise

Agreement in an amount not less than the $57,334.34 Franchisee Payable, constitutes a material

breach of the Defendants’ obligations under the Franchise Agreement.

                22.          As a direct and proximate result of the Defendants’ breaches, the Debtors’

estates incurred damages in an amount not less than $57,334.34.

                 23.         Accordingly, the Plaintiff is entitled to a judgment against the Defendants in

an amount not less than $57,334.34.



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 The demand letter asserted that the Franchisee Payable was $56,631.00. After further reconciliation, the revised
Franchise Payable is $57,334.34.

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                                  SECOND CLAIM FOR RELIEF
                         (Turnover of Property -- 11 U.S.C. §§ 105(a) and 542)

                 24.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 25.         The Defendants are in possession, custody or control of the Franchisee

Payable as of the date of this Complaint.

                 26.    The Franchisee Payable that is in the possession, custody or control of the

Defendants constitutes property of the Debtors’ bankruptcy estates pursuant to section 541(a) of

the Bankruptcy Code.

                 27.    The Plaintiff, on behalf of the Debtors’ estates, has the power and authority to

take possession, custody or control of Franchisee Payable.

                 28.    The Plaintiff has made demand for turnover of the Franchise Payable pursuant

to section 542 of the Bankruptcy Code. As of the date of this Complaint, Defendants have not

turned over the Franchisee Payable to the Plaintiff.

                 29.    Pursuant to sections 105(a) and 542(a) of the Bankruptcy Code, the

Defendants must deliver the Franchisee Payable to the Plaintiff.

                                       THIRD CLAIM FOR RELIEF
                                            (Account Stated)

                 30.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 31.         Debtor AVF sent invoices to Defendants that set forth the amounts due and

 owing for Defendants’ purchase of goods from the Debtors.

                 32.         Defendants never objected to the invoices described in Exhibit B.




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                 33.         The Plaintiff has demanded that Defendants pay for the goods that it

 purchased and received from the Debtors. Defendants have failed and refused to do so.

                 34.         There is an account stated, due and owing to Debtors in the amount of

 $57,334.34 for the Franchisee Payable, and Plaintiff is entitled to a judgment on that amount.


                                      FOURTH CLAIM FOR RELIEF
                                        (Goods Sold and Delivered)

                 35.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 36.         Within the year prior to the Petition Date, Defendants became indebted to

 Debtors for goods sold and delivered to Defendants and for which Defendants promised to pay.

                 37.         Defendants have failed to pay for the goods, despite the Plaintiff’s demand

 therefor. Plaintiff is therefore entitled to a judgment in the amount of the goods.


                                       FIFTH CLAIM FOR RELIEF
                             (Declaratory Judgment – 28 U.S.C. §§ 2201, 2202)

                 38.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 39.         The Franchise Agreement provides:

        4.9 No Setoff; Application of Payments. Franchisee’s obligations for the full
        and timely payment of the fees described in this Agreement are absolute and
        unconditional. Franchisee must not delay or withhold the payment of all or part
        of those fees based on the alleged nonperformance by FRANCHISOR or for any
        other reason or put the fees in escrow or setoff against any claims Franchisee may
        allege against FRANCHISOR. FRANCHISOR may apply any payments received
        first to any accrued late charges or interest and then to any delinquent fees or
        other amounts outstanding before crediting the payment in the manner specified
        by Franchisee or to the current amount due.

 Franchise Agreement § 4.9.


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                 40.         To the extent Defendants assert setoff for lost profits or otherwise seeks

 recoupment or any other similar remedy, it may not do so and is prohibited by the express terms

 of the Franchise Agreement.

                 41.         An actual, substantial, and justiciable controversy exists between Plaintiff

 and Defendants regarding amounts due and owing under the Franchise Agreement.

                 42.         In addition, section 16.8 of the Franchise Agreement provides:

        16.8 Jury Waiver; Time Period for Bringing Claims; Limitation of Damages.
        FRANCHISOR AND FRANCHISEE IRREVOCABLY WAIVE TRIAL BY
        JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM, WHETHER
        AT LAW OR IN EQUITY, BROUGHT BY EITHER OF THEM AGAINST THE
        OTHER, WHETHER OR NOT THERE ARE OTHER PARTIES IN SUCH
        ACTION OR PROCEEDING. ALL CLAIMS ARISING UNDER THIS
        AGREEMENT OR FROM THE RELATIONSHIP BETWEEN THE PARTIES
        ARE BARRED UNLESS AN ACTION IS FILED AND TIMELY SERVED ON
        THE OPPOSING PARTY WITHIN ONE YEAR FROM THE DATE THE
        PARTY KNEW OR SHOULD HAVE KNOWN OF THE FACTS CREATING
        THE CLAIM, EXCEPT TO THE EXTENT ANY APPLICABLE LAW OR
        STATUTE PROVIDES FOR A SHORTER PERIOD OF TIME TO BRING A
        CLAIM OR AS OTHERWISE REQUIRED BYLAW.

        FRANCHISEE WAIVES IN ANY JUDICIAL ACTION, TO THE FULLEST
        EXTENT PERMITTED BY LAW, ANY RIGHT TO OR CLAIM OF ANY
        SPECIAL, PUNITIVE OR EXEMPLARY DAMAGES AGAINST
        FRANCHISOR AND AGREES THAT IN THE EVENT OF A DISPUTE
        BETFRANCHISOREN [sic] THEM, FRANCHISEE WILL BE LIMITED
        TO THE RECOVERY OF ANY ACTUAL DAMAGES SUSTAINED BY
        FRANCHISEE.

Franchise Agreement § 16.8.

                 43.         Pursuant to section 16.8 of the Franchise Agreement, Defendants have

waived any right to assert setoff damages or recoupment against the franchisor and is limited to

recovering actual damages.




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                 44.         Accordingly, the Plaintiff seeks a declaratory judgment and order from this

Court under 28 U.S.C. §§ 2201 and 2202 that Defendants may not assert lost profits or any other

damages as setoff or recoupment against amounts it owes the Debtors’ estates.

                                       SIXTH CLAIM FOR RELIEF
                                    (Claim for Attorney’s Fees and Costs)

                 45.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 46.         In the event that Plaintiff prevails in this action, Plaintiff also seeks an

 award of reasonable attorneys’ fees and costs pursuant to Section 16 of the Agreement.

                 47.         Section 16.7 of the Agreement provides:

        If any arbitration or legal action or other proceeding is begun for the enforcement
        of this Agreement, or for an alleged dispute, breach, default or misrepresentation
        under any term of this Agreement, then FRANCHISOR, if FRANCHISOR is the
        prevailing party, is entitled to recover reasonable pre-institution and post-
        institution attorneys fees, court costs, and all expenses even if not taxable as court
        costs (including all fees and expenses incident to appellate, bankruptcy and post-
        judgment proceedings), incurred in the action or proceeding in addition to all
        other relief to which FRANCHISOR is entitled. Attorneys fees includes paralegal
        fees, administrative costs, investigative costs, costs of expert witnesses, court
        reporter fees, sales and use taxes, if any, and all other charges billed by the
        attorney to the prevailing party. If FRANCHISOR engages legal counsel because
        of Franchisee’s failure to pay when due any monies under this Agreement or
        submit when due any reports, information or supporting records, or for any failure
        to otherwise comply with this Agreement, Franchisee must reimburse
        FRANCHISOR on demand for all of the above listed expenses FRANCHISOR
        incurs.

                 48.         Plaintiff has incurred, and will continue to incur, attorneys’ fees, costs, and

 expenses in prosecuting his claims set forth herein, all resulting from Defendants’ breach of the

 Franchise Agreement, which will be supported by evidence at the appropriate time.

                             WHEREFORE, Plaintiff prays for judgment as follows:




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                             a.   On the first claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendants all damages caused by Defendants’ breach of the

Franchise Agreement in the amount of $57,334.34, plus prejudgment interest thereon;

                             b.   On the second claim for relief, for a determination and judgment

compelling Defendants to turn over the Franchisee Payable amount to Plaintiff;

                             c.   On the third claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendants the amount of goods sold and delivered to

Defendants;

                             d.   On the fourth claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendants the amount of goods sold and delivered to

Defendants;

                             e.   On the fifth claim for relief, for a declaratory judgment that

Defendants may not assert lost profits or any other damages as setoff against amounts it owes the

Debtors’ estates;

                             f.   On the sixth claim for relief, for a determination and judgment

awarding attorneys’ fees and costs to Plaintiff under the Franchise Agreement;

                             g.   For costs of suit incurred herein; and

                             h.   For such other and further relief as the Court may deem just and

proper.




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Dated: May 4, 2022                   PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Peter J. Keane
                                     Bradford J. Sandler (DE Bar No. 4142)
                                     Jason S. Pomerantz, Esq. (CA Bar No. 157216)
                                     Peter J. Keane (DE Bar No. 5503)
                                     919 North Market Street, 17th Floor
                                     P.O. Box 8705
                                     Wilmington, Delaware 19899-8705 (Courier 19801)
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email: bsandler@pszjlaw.com
                                                jspomerantz@pszjlaw.com
                                                pkeane@pszjlaw.com

                                      Counsel to Plaintiff, Alfred T. Giuliano, Chapter 7
                                      Trustee for the Estates of Start Man Furniture, LLC, et
                                      al.




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